            IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                      1:19 CV 344 MR WCM

DAVID L. SETTLEMYER and                          )
JAN SETTLEMYER                                   )
                                                 )
             Plaintiffs,                         )
v.                                               )            ORDER
                                                 )
CARLISLE INDUSTRIAL BRAKE                        )
& FRICTION, INC.;                                )
CERTAIN TEED CORPORATION;                        )
PNEUMO ABEX, LLC, as successor to                )
Abex Corporation;                                )
MORSE TEC LLC, formerly known as                 )
BorgWarner Morse TEC, LLC                        )
as successor to Borg-Warner Corporation          )
                                                 )
           Defendants.                           )
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      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 330) filed by Gerald A. Stein, II. The Motion indicates

that Mr. Stein, a member in good standing of the Bar of this Court, is local

counsel for Morse TEC LLC formerly known as BorgWarner Morse TEC, LLC

as successor to Borg-Warner Corporation and that he seeks the admission of

Dyanna Ballou, who the Motion represents as being a member in good standing

of the Bar of Missouri. It further appears that the requisite admission fee has

been paid.




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      Accordingly, the Court GRANTS the Motion (Doc. 330) and ADMITS

Dyanna Ballou to practice pro hac vice before the Court in this matter while

associated with local counsel.

                                 Signed: December 2, 2021




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